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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA               :    Hon. Jessica S. Allen
                                       :
      v.                               :    Mag. No. 21-8352 (JSA)
                                       :
JOHN KLEIN                             :    ORDER FOR A CONTINUANCE

      This matter having come before the Court on the joint application of

Philip R. Sellinger, United States Attorney for the District of New Jersey (by

Andrew Kogan and Anthony Torntore, Assistant United States Attorneys), and

defendant John Klein (by Kevin Carlucci, Assistant Federal Public Defender),

for an order granting a continuance of the proceedings in the above-captioned

matter for a period of 60 days to permit defense counsel the reasonable time

necessary for effective preparation in this matter and to allow the parties to

discuss the charges and a potential resolution to this matter, and the Court

having granted two prior continuance order in this matter, and the defendant

being aware that he has the right to have the matter submitted to a grand jury

within 30 days of the date of his arrest pursuant to Title 18, United States

Code, Section 3161(b); and the defendant, through his attorney, having

consented to the continuance; and for good and sufficient cause shown,

      IT IS THE FINDING OF THIS COURT that this action should be

continued for the following reasons:

      (1) The parties wish to discuss the charges and the case, including a

potential resolution, while this case is on Complaint;

      (2) The defendant has consented to the aforementioned continuance;
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        (3) The grant of a continuance will likely conserve judicial resources; and

        (4) Pursuant to Title 18, United States Code, Section 3161(h)(7), the ends

of justice served by granting the continuance outweigh the best interests of the

public and the defendant in a speedy trial.

        WHEREFORE, it is on this 11th day of March, 2022;

        ORDERED that this action be, and it hereby is, continued from April 8,

2022, to and through June 6, 2022; and it is further

        ORDERED that the period from April 8, 2022, to and through June 6,

2022 shall be excludable in computing time under the Speedy Trial Act of

1974.


                                       Honorable Jessica S. Allen
                                       United States Magistrate Judge


Form and entry consented to:




Anthony Torntore
Andrew Kogan
Assistant U.S. Attorneys


/s/ Sean Farrell
____________________________________
Sean Farrell
Chief, Cybercrime Unit



Kevin Carlucci, Esq.
Counsel for Defendant John Klein
